                                                                                19-81991-CRJ11
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                      UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF ALABAMA - NORTHERN DIVISION

  In the Matter of:
   In The Wind, LLC                      }      Case No: 19-81991-CRJ11
                                         }
     DEBTOR(S).                          }
                                         }
                                         }

                                        ORDER
This matter came before the Court on Wednesday, September 04, 2019 02:30 PM, for a hearing
on the following:
    RE: Doc #53; Debtor's Application to Employ R. Champ Crocker as Special Counsel
Proper notice of the hearing was given and appearances were made by the following:
    Richard L Collins, attorney for In The Wind, LLC (Debtor)
    Richard M Blythe (Bankruptcy Administrator)


It is therefore ORDERED, ADJUDGED and DECREED that:

   The Debtor's Application to Employ R. Champ Crocker as Special Counsel is DENIED
   without prejudice for the reasons stated on the record.

Dated: 09/04/2019                                  /s/ CLIFTON R. JESSUP JR.
                                                   CLIFTON R. JESSUP JR.
                                                   United States Bankruptcy Judge




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